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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §             Case No: 2:15-cv-01877-JRG-RSP
                                     §
 vs.                                 §             LEAD CASE
                                     §
 AMERICAN HONDA MOTOR CO, INC. §
                                     §
       Defendant.                    §
 ___________________________________ §
                                     §
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
.                                    §
       Plaintiff,                    §             Case No: 2:15-cv-01642-JRG-RSP
                                     §
 vs.                                 §             CONSOLIDATED CASE
                                     §
 T-MOBILE USA, INC.                  §
                                     §
       Defendants.                   §
 ___________________________________ §


                                           ORDER

       On this day the Court considered the Unopposed Motion to Dismiss T-Mobile USA, Inc.
It is therefore ORDERED that all claims by and between parties are hereby DISMISSED WITH
     SIGNED
PREJUDICE, withthis
                each3rd daytoofbear
                      party     January,
                                    its own2012.
                                            costs, expenses and attorneys’ fees.
       SIGNED this 30th day of August, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
